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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

In re:                                                       CASE NO. 22-19132-SMG

OWMWATIE CHOWDHURY

      Debtor.
______________________________________/

AXOS BANK                                                    Adv. Case No. ____________________

         Plaintiff,                                          Removed Case No. CACE-20-013010
                                                             from the Circuit Court of the 17th
v.                                                           Judicial Circuit, in and for Broward
                                                             County, Florida, Civil Action
EQRAMUL I. CHOWDHURY, et al.

      Defendants.
______________________________________/

                               NOTICE OF REMOVAL
                  OF CIVIL ACTION, RELATED TO BANKRUPTCY CASE

         Comes now Owmwatie Chowdhury (the “Debtor”), by and through undersigned counsel, and

pursuant to 28 U.S.C. §1334(b), 28 U.S.C. §1452(a), and pursuant to Rule 9027(a)(1) of the Federal

Rules of Bankruptcy Procedure, files this Notice of Removal of Civil Action, Related to Bankruptcy

Case (the “Notice”), and as good cause for same, states as follows:

                      FORM AND CONTENT REQUIREMENTS OF NOTICE
                              PURSUANT TO RULE 9027(a)(1)

         A.      Short and Plain Statement of Facts Entitling Removal

         1.      The Debtor made an Affidavit of Person in Possession of Property, Made Pursuant to

Fla.R.Civ.P. 1.580(b), and whom is not a party against whom the writ of possession is issued, in

Case No.: 20-13010, i.e., Axos vs. Chowdhury, advising that the Debtor is, “entitled to, possession

of the real property, and personal property, including but not limited to medical related
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equipment, furnishings, etc., located thereon, at 1031 Sandalwood Lane, Weston, FL 33326

(collectively the “Property”), and the nature of my claim to this property is an equitable interest in

the property based upon improvements that she made to it, and purchase monies

furnished/provided”, and that Debtor, is “in possession, and not a party against whom the writ

of possession is issued, attached hereto as Exhibit “1”, and therefore, I am entitled to retain

possession of the Property by filing with the Broward County Sheriff this affidavit that the person is

entitled to possession of the Property, as stated herein.” See Fla.R.Civ.P. 1.580(b) (“Third-Party

Claims. If a person other than the party against whom the writ of possession is issued is in

possession of the property, that person may retain possession of the property by filing with the

sheriff an affidavit that the person is entitled to possession of the property, specifying the nature of

the claim. Thereupon the sheriff shall desist from enforcing the writ and shall serve a copy of the

affidavit on the party causing issuance of the writ of possession. The party causing issuance of the

writ may apply to the court for an order directing the sheriff to complete execution of the writ. The

court shall determine the right of possession in the property and shall order the sheriff to continue to

execute the writ or shall stay execution of the writ, if appropriate.”)

        2.      The foreclosure judgment does not include any personal property that the Debtor has

an interest in, possessory, or otherwise. See Bensoussan v. Banon5 LLC, 252 So. 3d 298, 300 (Fla.

3d DCA 2018) (The order observed that the mortgage in this case encumbered all furniture,

furnishings, fixtures and equipment contained in or appurtenant to said premises [the Unit]. An

examination of the final judgment of foreclosure, however, discloses that the mortgage lien and the

sale only included the Unit, and not any personal property within the Unit. The subrogation

argument also fails under the well-settled principle of merger. When a final judgment is entered

foreclosing a mortgage, the mortgage itself loses its identity, and the final judgment itself controls


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the mortgagee's/judgment creditor's rights. At the foreclosure sale, the Clerk only sold the Unit, and

there existed no residual mortgage lien for Banon5 to buy regarding the personal property within the

Unit.”) (Internal citation and quotation marks omitted.)

       3.      The Removed Case is a claim “related to” these bankruptcy proceedings, entitling

removal pursuant to 28 U.S.C. §1334(b), and 28 U.S.C. §1452(a), because a Third Party Bidder, is

seeking to levy on property of the estate, i.e., personal property discussed in the above affidavit. See

Continental Nat'l Bank v. Sanchez (In re Toledo), 170 F.3d 1340, 1346-47 (11th Cir.1999) (case

which would have a “conceivable effect” on the value of the debtor’s personal property interest in a

partnership was “related to” the bankruptcy case, entitling removal, where, “the value and extent of

the Estate’s indirect interest in the Partnership Property would necessarily be affected by the

outcome of the adversary proceeding.”)

       4.      The Third-Party Bidder is not protected as a bona fide purchaser pursuant to 702.036,

Florida Statutes, because as of the filing hereof, pursuant to 702.036(1)(a)(3) all appellate periods

must have already run, where the appeal of the final judgment here remains pending in the Fourth

District Court of Appeal. (“That statute provides limited protection to the purchaser of a foreclosed

property when a party later challenges a foreclosure judgment. … 702.036(1)(a)(3) is satisfied as all

appellate periods for the First Magnus judgment have run.”) (Emphasis added.)

       5.      The Third-Party Bidder erroneously seeks to levy against the Debtor in state-circuit

court despite the fact the Debtor is a non-party specifically not subject to the jurisdiction of the

Circuit Court, because, inter alia, on April 27, 2021, Axos Bank voluntarily dismissed the

unknown tenant in possession of the mortgaged property, i.e., the Debtor. See Maya v. Deutsche

Bank Nat'l Tr. Co., 264 So. 3d 1076, 1077–78 (Fla. 3d DCA 2019) (“Deutsche Bank dropped the

“unknown spouse of Arnold Maya” as a party. … The question is whether, under these facts, the trial


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court retained jurisdiction, following entry of the original final judgment (which became final on

appeal in 2008), to permit Deutsche Bank in 2016 to file a supplemental complaint adding Elizabeth

Maya as a party to pursue an equitable vendor's claim against her, and to enter the subsequent 2018

final judgment on appeal. The answer to that question is no … [t]he final judgment did not retain

jurisdiction to allow for a supplemental complaint to add an omitted party post-judgment. In

permitting such a supplemental post-judgment proceeding, the trial court acted in the absence of

jurisdiction.”) (Emphasis added.)

       B.      Identification of Core v. Non-Core Proceeding

       6.      Pursuant to Rule 9027(a)(1), Debtor identifies the Removed Case as core because the

Debtor has a direct interest in the personal property. See Continental Nat'l Bank v. Sanchez (In re

Toledo), 170 F.3d 1340, 1346-47 (11th Cir.1999)

       7.      Debtor gives notice pursuant to Rule 9027(a)(1) that it consents to the entry of final

orders or judgment by the bankruptcy judge.

       C.      Process and Pleadings

       8.      Pursuant to Rule 9027(a)(1), all process and pleadings are being filed as part of an

appendix subsequent to this filing. Debtor will supplement any missing process and pleadings, if

any, expeditiously.

       D.      Timeliness, and Effectiveness of Filing of Removal

       9.      Pursuant to Rule 9027(a)(2), Jarrette Bay gives notice of removal within 90 days of

the filing of this Chapter 13 bankruptcy.

       10.     Pursuant to Rule 9027(c), the filing of this Notice automatically divests the 17th

Judicial Circuit, in and for Broward County, Florida, of jurisdiction over the Removed Case.




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                                                        Respectfully Submitted,

                                                        MARRERO, CHAMIZO, MARCER
                                                        LAW, LP

                                                        Attorney for the Debtor
                                                        3850 Bird Road, Penthouse One
                                                        Coral Gables, FL 33146
                                                        julio@marrerolawfirm.com
                                                        Telephone: (305) 446-0163
                                                        Facsimile: (305) 444-5538
                                                        By: /s/ Julio C. Marrero
                                                        Julio C. Marrero, Esq.
                                                        Florida Bar Number: 784664

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Court

and served via electronic transmission to all electronic recipients through CM/ECF on December 14,

2022, and via U.S. Mail to all interested parties on the attached service list.

                                                   By: /s/ Julio C. Marrero
                                                   Julio C. Marrero, Esq.
                                                   Florida Bar Number: 784664




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